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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              RICHMOND DIVISION

KYRA CANNING,                              )
                                           )
              Plaintiff,                   )
                                           )
v.                                         )   Lead Civil Action No.: 3:20-cv-401
                                           )
WILLIAM SMITH, et al.,                     )
                                           )
              Defendants.                  )
                                           )
                                           )
JARROD BLACKWOOD, et al.,                  )
individually and on behalf of a class of   )
similarly situated individuals,            )
                                           )
              Consolidated Plaintiffs,     )
                                           )
v.                                         )
                                           )
JOHN/JANE DOES I-X, et al.,                )
                                           )
              Consolidated Defendants.     )
                                           )
                                           )
MARIA LOURDES MAURER,                      )
                                           )
              Plaintiff,                   )
                                           )
v.                                         )   Civil Action No. 3:20-cv-668
                                           )
CITY OF RICHMOND, et al.,                  )
                                           )
              Defendants.                  )
                                           )

                   DEFENDANT WILLIAM SMITH’S ANSWER,
                 AFFIRMATIVE DEFENSES, AND DEFENSES TO
           PLAINTIFF KYRA CANNING’S FIRST AMENDED COMPLAINT
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       Pursuant to Fed. R. Civ. P. 8, Defendant William Smith (“Chief Smith”), by counsel,

respectfully submits the following as his Answer, Affirmative Defenses, and Defenses to Plaintiff

Kyra Canning’s (“Plaintiff”) First Amended Complaint:

       1.      Chief Smith admits that Plaintiff brought the present action against him. Chief

Smith denies the remaining allegations in Paragraph 1.

       2.      Chief Smith denies the allegations in Paragraph 2.

                                 JURISDICTION AND VENUE

       3.      The allegations in Paragraph 3 constitute conclusions of law to which no response

is required. To the extent a response is required, Chief Smith denies the allegations in Paragraph

3.

       4.      The allegations in Paragraph 4 constitute conclusions of law to which no response

is required. To the extent a response is required, Chief Smith denies the allegations in Paragraph

4.

                                             PARTIES

       5.      As to the allegations in Paragraph 5, Chief Smith is without knowledge or

information sufficient to form a belief as to their truth and leaves Plaintiff to her proof.

       6.      Chief Smith admits that he was the Chief of Police for the Richmond Police

Department until June 16, 2020, and that Plaintiff brought the present action against him in his

individual capacity. Chief Smith denies that he acted unlawfully toward Plaintiff at any time, or

that he is liable to Plaintiff under any theory or in any amount. Chief Smith denies the remaining

allegations in Paragraph 6.




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         7.     Chief Smith admits only that Plaintiff has sued John Doe(s) Police Officers in

their individual capacities in the present action. Chief Smith denies the remaining allegations in

Paragraph 7.

                                  FACTUAL ALLEGATIONS

         8.     Chief Smith admits that George Floyd died on May 25, 2020. Chief Smith is

without sufficient knowledge or information to form a belief as to the truth of the remaining

allegations in Paragraph 8 and leaves Plaintiff to her proof.

         9.     Chief Smith admits that protests occurred in Richmond, Virginia after Mr.

Floyd’s death on May 25, 2020. Chief Smith is without sufficient knowledge or information to

form a belief as to the truth of the remaining allegations in Paragraph 9 and leaves Plaintiff to her

proof.

         10.    Chief Smith admits that the City of Richmond established an 8:00 p.m. curfew on

May 31, 2020. Chief Smith admits that Mayor Levar Stoney made public statements, and that

those statements speak for themselves. Chief Smith denies the remaining allegations in

Paragraph 10.

         11.    As to the first two (2) sentences of Paragraph 11, Chief Smith admits that

protestors gathered around the Lee Monument in Richmond, Virginia on June 1, 2020, and that

the Lee Monument is on public property within a traffic circle. Chief Smith denies the

remaining allegations in Paragraph 11.

         12.    Chief Smith denies the allegations in Paragraph 12.

         13.    Chief Smith admits that Richmond Police Officers were at or near the Lee

Monument on June 1, 2020. Chief Smith denies the remaining allegations in Paragraph 13.




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       14.      Chief Smith admits making public statements on June 1, 2020, and that those

statements speak for themselves. Chief Smith denies the remaining allegations in Paragraph 14.

       15.      Chief Smith is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 15 and leaves Plaintiff to her proof.

       16.      Chief Smith denies the allegations in Paragraph 16.

       17.      Chief Smith denies the allegations in Paragraph 17.

       18.      Chief Smith denies the allegations in Paragraph 18.

       19.      As the allegations in Paragraph 19 pertain to Plaintiff, Chief Smith is without

sufficient knowledge or information to form a belief as to the truth of the allegations in

Paragraph 19 and leaves Plaintiff to her proof. Plaintiff denies the remaining allegations in

Paragraph 19.

       20.      Chief Smith denies the allegations in Paragraph 20.

       21.      Chief Smith denies that Plaintiff was unlawfully seized. As to the remaining

allegations in Paragraph 21, Chief Smith is without sufficient knowledge or information to form

a belief as to the truth of the allegations in Paragraph 21 and leaves Plaintiff to her proof.

       22.      Chief Smith is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 22 and leaves Plaintiff to her proof.

       23.      Chief Smith is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 23 and leaves Plaintiff to her proof.

       24.      Chief Smith is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 24 and leaves Plaintiff to her proof.

       25.      Chief Smith is without sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 25 and leaves Plaintiff to her proof.



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       26.      Chief Smith admits that Mayor Levar Stoney made public statements on June 2,

2020, and that those statements speak for themselves. Chief Smith denies the remaining

allegations in Paragraph 26.

       27.      Chief Smith admits making public statements on June 2, 2020, and that those

statements speak for themselves. Chief Smith denies the remaining allegations in Paragraph 27.

       28.      Chief Smith admits making public statements on June 2, 2020, and that those

statements speak for themselves. Chief Smith denies the remaining allegations in Paragraph 28.

       29.      Chief Smith denies the allegations in Paragraph 29. Chief Smith was not

physically present at the Lee Monument during the time of the events alleged in Plaintiff’s First

Amended Complaint.

       30.      Chief Smith denies the allegations in Paragraph 30.

       31.      Chief Smith admits that he resigned from his position as Chief of Police for the

City of Richmond on or around June 16, 2020. Chief Smith denies the remaining allegations in

Paragraph 31.

                                        COUNT I
          42 U.S.C. § 1983 – First Amendment Retaliation – John Doe Defendants

       32.      Chief Smith incorporates by reference his responses to the allegations in

Paragraphs 1 through 31 as set forth fully herein.

       33.      The allegations in Paragraph 33 constitute conclusions of law to which no

response is required. To the extent a response is required, Chief Smith denies that Plaintiff has

pled sufficient facts to support the allegations in Paragraph 33.

       34.      The allegations in Paragraph 34 are not directed toward Chief Smith.

Nevertheless, to the extent a response is required, Chief Smith denies the allegations in

Paragraph 34.

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       35.      The allegations in Paragraph 35 are not directed toward Chief Smith.

Nevertheless, to the extent a response is required, Chief Smith denies the allegations in

Paragraph 35.

       36.      The allegations in Paragraph 36 are not directed toward Chief Smith.

Nevertheless, to the extent a response is required, Chief Smith denies the allegations in

Paragraph 36.

       37.      The allegations in Paragraph 37 are not directed toward Chief Smith.

Nevertheless, to the extent a response is required, Chief Smith denies the allegations in

Paragraph 37.

                                         COUNT II
             42 U.S.C. § 1983 – First Amendment Retaliation – Defendant Smith

       38.      Chief Smith incorporates by reference his responses to the allegations in

Paragraphs 1 through 37 as set forth fully herein.

       39.      The allegations in Paragraph 39 constitute conclusions of law to which no

response is required. To the extent a response is required, Chief Smith denies that Plaintiff has

pled sufficient facts to support the allegations in Paragraph 39.

       40.      Chief Smith denies the allegations in Paragraph 40.

       41.      Chief Smith denies the allegations in Paragraph 41.

       42.      Chief Smith denies the allegations in Paragraph 42.

       43.      Chief Smith denies the allegations in Paragraph 43.

                                       COUNT III
42 U.S.C. § 1983 – Excessive Force in Violation of the Fourth Amendment – All Defendants

       44.      Chief Smith incorporates by reference his responses to the allegations in

Paragraphs 1 through 43 as set forth fully herein.



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       45.     The allegations in Paragraph 45 constitute conclusions of law to which no

response is required. To the extent a response is required, Chief Smith denies that Plaintiff has

pled sufficient facts to support the allegations in Paragraph 45.

       46.     Chief Smith denies the allegations in Paragraph 46.

       47.     Chief Smith denies the allegations in Paragraph 47.

       48.     Chief Smith denies the allegations in Paragraph 48.

       49.     Chief Smith denies the allegations in Paragraph 49.

       50.     The allegations in Paragraph 50 constitute conclusions of law to which no

response is required. To the extent a response is required, Chief Smith denies that Plaintiff has

pled sufficient facts to support the allegations in Paragraph 50.

       51.     Chief Smith denies the allegations in Paragraph 51.

                                       COUNT IV
     42 U.S.C. § 1983 – Unlawful Seizure in Violation of the Fourth Amendment – All
                                       Defendants

       52.     Chief Smith incorporates by reference his responses to the allegations in

Paragraphs 1 through 51 as set forth fully herein.

       53.     The allegations in Paragraph 53 constitute conclusions of law to which no

response is required. To the extent a response is required, Chief Smith denies that Plaintiff has

pled sufficient facts to support the allegations in Paragraph 53.

       54.     Chief Smith denies the allegations in Paragraph 54.

       55.     Chief Smith denies the allegations in Paragraph 55.

       56.     Chief Smith denies the allegations in Paragraph 56.

       57.     Chief Smith denies the allegations in Paragraph 57.




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                                         COUNT IV
                  42 U.S.C. § 1983 – Bystander Liability – Defendant Smith

       58.     Chief Smith incorporates by reference his responses to the allegations in

Paragraphs 1 through 57 as set forth fully herein.

       59.     The allegations in Paragraph 59 constitute conclusions of law to which no

response is required. To the extent a response is required, Chief Smith denies that Plaintiff has

pled sufficient facts to support the allegations in Paragraph 59.

       60.     The allegations in Paragraph 60 constitute conclusions of law to which no

response is required. To the extent a response is required, Chief Smith denies that Plaintiff has

pled sufficient facts to support the allegations in Paragraph 60.

       61.     Chief Smith denies the allegations in Paragraph 61.

       62.     Chief Smith denies the allegations in Paragraph 62.

       63.     Chief Smith denies the allegations in Paragraph 63.

       64.     Chief Smith denies the allegations in Paragraph 64.

       65.     Chief Smith denies the allegations in Paragraph 65.

       66.     Chief Smith denies the allegations in Paragraph 66.

                                    PRAYER FOR RELIEF

       Plaintiff’s requested relief contains only conclusory assertions of Plaintiff’s demands for

relief, to which no response is required. To the extent a response is required, Chief Smith

expressly denies that he is liable to Plaintiff under any theory or in any amount.

       With respect to all allegations not heretofore denied, Chief Smith denies such allegations.




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                       AFFIRMATIVE DEFENSES AND DEFENSES

       Without assuming any burden he would not otherwise bear and reserving the right to

assert other defenses in this action proceeding up to and including the time of trial, Chief Smith

asserts the following separate and additional defenses:

                              FIRST AFFIRMATIVE DEFENSE

       Chief Smith raises the affirmative defense of sovereign immunity.

                            SECOND AFFIRMATIVE DEFENSE

       Chief Smith raises the affirmative defense of qualified immunity.

                              THIRD AFFIRMATIVE DEFENSE

       Chief Smith’s actions were privileged.

                            FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the illegality of her conduct.

                                        FIRST DEFENSE

       Chief Smith denies all allegations of misconduct alleged against him in the First

Amended Complaint and states that the allegations are meritless and without basis in fact. All

allegations not specifically admitted are hereby denied.

                                      SECOND DEFENSE

       Chief Smith at all relevant times complied with all applicable federal, state, and/or other

regulations, laws and standards.

                                       THIRD DEFENSE

       The business of Chief Smith, as the Chief of Police, was in the public interest,

convenience, and necessity, and Chief Smith operated and conducted his business in a reasonable

manner in compliance with the law.



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                                     FOURTH DEFENSE

       Plaintiff was cognizant and aware of all the facts, circumstances and conditions existing

and consented to, permitted, acquiesced, actively encouraged and/or voluntarily assumed the risk

therefrom and attendant thereto.

                                       FIFTH DEFENSE

       Chief Smith denies that Plaintiff suffered any losses or damages, in any event, any losses

or damages sustained by the Plaintiff were de minimis, remote, speculative and/or transient and

hence, are not cognizable as a matter of law.

       Chief Smith gives notice that he intends to rely upon any other defenses that may become

available or apparent during the discovery proceedings and reserves his right to amend this

Answer and to assert any such defenses. Chief Smith reserves the right to amend his affirmative

defenses as Plaintiff’s claims are more developed through discovery.

                                                       Respectfully submitted,


                                                By:       /s/ Steven D. Brown
                                                       Steven D. Brown (VSB No. 42511)
                                                       Lindsey A. Strachan (VSB No. 84506)
                                                       IslerDare P.C.
                                                       1111 East Main Street, Suite 1605
                                                       Richmond, Virginia 23219
                                                       Telephone: (804) 380-8983
                                                       Facsimile: (804) 234-8234
                                                       sbrown@islerdare.com
                                                       lstrachan@islerdare.com
                                                       Counsel for Defendant William Smith




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of December 2020, a true and accurate copy of the
foregoing Answer, Affirmative Defenses, and Defenses to Plaintiff’s First Amended Complaint
has been filed with the Clerk of Court using the Court’s CM/ECF filing system, which will then
send notification of such filing (NEF) to the following:

 Geoffrey R. McDonald, Esq.                         Richard E. Hill, Jr., Esq.
 Theodore W. Briscoe III, Esq.                      Office of the City Attorney
 Geoff McDonald & Associates, P.C.                  900 East Broad Street
 8720 Stony Point Parkway, Suite 250                Richmond, Virginia 23219
 Richmond, Virginia 23235                           Telephone: (804) 646-7946
 Telephone: (804) 888-8888                          Facsimile: (804) 646-7939
 Facsimile: (804) 359-5426                          Richard.e.hill@richmondgov.com
 gmcdonald@mcdonaldinjurylaw.com                    Counsel for the City of Richmond
 tbriscoe@mcdonaldinjurylaw.com
 Counsel for Plaintiff Maurer
 Mark D. Dix, Esq.
 Seth R. Carroll, Esq.                              Erin R. McNeill, Esq.
 Conner Bleakley, Esq.                              Blaire H. O’Brien, Esq.
 Commonwealth Law Group, PLLC                       202 North 9th Street
 3311 West Broad Street                             Richmond, Virginia 23219
 Richmond, Virginia 23230                           Telephone: (804) 747-5200
 Telephone: (804) 999-9999                          Facsimile: (804) 747-6085
 Facsimile: (866) 238-6415                          emcneill@oag.state.va.us
 mdix@hurtinva.com                                  bo’brien@oag.state.va.us
 scarroll@hurtinva.com                              Counsel for Gary Settle
 cbleakley@hurtinva.com
 Jonathan E. Halperin, Esq.                         Thomas Hunt Roberts, Esq.
 Andrew Lucchetti, Esq.                             Andrew Thomas Bodoh, Esq.
 Isaac A. McBeth, Esq.                              Thomas H. Roberts & Associates, PC
 Huyen Thanh Vu, Esq.                               105 South First Street, Suite A
 Halperin Law Center, LLC                           Richmond, Virginia 23219
 5225 Hickory Park Drive, Suite B                   Telephone: (804) 783-2000
 Glen Allen, Virginia 23059                         Facsimile: (804) 783-2105
 Telephone: (804) 527-0100                          tom.roberts@robertslaw.org
 Facsimile: (804) 597-0209                          andrew.bodoh@robertslaw.org
 jonathan@hlc.law                                   Counsel for Consolidated Plaintiffs
 andrew@hlc.law
 isaac@hlc.law
 Counsel for Plaintiff Canning




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                            By:     /s/ Steven D. Brown
                                  Steven D. Brown (VSB No. 42511)
                                  Lindsey A. Strachan (VSB No. 84506)
                                  ISLERDARE P.C.
                                  1111 East Main Street, Suite 1605
                                  Richmond, Virginia 23219
                                  Telephone: (804) 489-5500
                                  Facsimile: (804) 234-8234
                                  Email: sbrown@islerdare.com
                                  Email: lstrachan@islerdare.com
                                  Counsel for Defendant William Smith




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